          Case 1:12-bk-16650             Doc 19 Filed 04/12/13 Entered 04/13/13 00:51:58                Desc
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B18(Official Form 18)(12/07)

                                         UNITED STATES BANKRUPTCY COURT
                                                 Southern District of Ohio

                                                                        Case No: 1:12−bk−16650
In Re:
Kristin L. King
492 East Main St.
Williamsburg, OH 45176
                                                                        Chapter: 7


                                      Debtor(s)

Social Security / Individual Taxpayer ID No.:
Debtor: xxx−xx−0699
Joint:

Employer Tax ID / Other nos.:
Debtor:
Joint:

                                                  DISCHARGE OF DEBTOR

It appearing that the debtor is entitled to a discharge,
IT IS ORDERED:
The debtor is granted a discharge under section 727 of title 11, United States Code, (the Bankruptcy Code).

Dated: 4/9/13


                                                           BY THE COURT:




                                                           Beth A. Buchanan
                                                           United States Bankruptcy Judge

                         SEE BACK OF THIS ORDER FOR IMPORTANT INFORMATION
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B18(Official Form 18)(12/07) Cont.                                                             Case: 1:12−bk−16650
                                 EXPLANATION OF BANKRUPTCY DISCHARGE
                                          IN A CHAPTER 7 CASE

   This court order grants a discharge to the person named as the debtor. It is not a dismissal of the case and it does
not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

   The discharge prohibits any attempt to collect from the debtor a debt that has been discharged. For example, a
creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue a lawsuit, to attach wages
or other property, or to take any other action to collect a discharged debt from the debtor. [In a case involving
community property: There are also special rules that protect certain community property owned by the debtor's
spouse, even if that spouse did not file a bankruptcy case.] A creditor who violates this order can be required to pay
damages and attorney's fees to the debtor.

   However, a creditor may have the right to enforce a valid lien, such as a mortgage or security interest, against the
debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the bankruptcy case. Also, a
debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
    The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged. Most, but not
all, types of debts are discharged if the debt existed on the date the bankruptcy case was filed. (If this case was begun
under a different chapter of the Bankruptcy Code and converted to chapter 7, the discharge applies to debts owed
when the bankruptcy case was converted.)

Debts that are Not Discharged.

      Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

      a. Debts for most taxes;

      b. Debts incurred to pay nondischargeable taxes; applies to cases filed on or after October 17, 2005.

      c. Debts that are domestic support obligations;

      d. Debts for most student loans;

      e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

      f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or aircraft
         while intoxicated;

      g. Some debts which were not properly listed by the debtor;

      h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are not
         discharged;

      i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation agreement in
         compliance with the Bankruptcy Code requirements for reaffirmation of debts; and
      j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift Savings
         Plan for federal employees for certain types of loans from these plans. Applies to cases filed on or after
        October 17, 2005.

   This information is only a general summary of the bankruptcy discharge. There are exceptions to these
general rules. Because the law is complicated, you may want to consult an attorney to determine the exact
effect of the discharge in this case.
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                                                United States Bankruptcy Court
                                                  Southern District of Ohio
 In re:                                                                                                     Case No. 12-16650-bab
 Kristin L. King                                                                                            Chapter 7
          Debtor
                                                  CERTIFICATE OF NOTICE
 District/off: 0648-1                  User: admin                        Page 1 of 2                          Date Rcvd: Apr 10, 2013
                                       Form ID: b18                       Total Noticed: 13


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Apr 12, 2013.
 db            +Kristin L. King,   492 East Main St.,    Williamsburg, OH 45176-1454
 cr            +Capital One, NA,   Bass & Associates, P.C.,     3936 E. Ft. Lowell Road, Suite #200,
                 Tucson, AZ 85712-1083
 15943597       American Education Services,    PO Box 2461,    Harrisburg, PA 17105-2461
 15943600      +Direct Loan Servicing Center (ACS),    PO Box 530260,    Atlanta, GA 30353-0260
 15943602      +King, James E.,   492 East Main Street,     Williamsburg, OH 45176-1454
 15943603      +National Bank and Trust Co.,    PO Box 888,    Wilmington, OH 45177-0888
 15943604      +Park at Herstbourne Apartments,    5555 Big Ben Drive,    Louisville, KY 40291-2150

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 tr           +EDI: QHJARNICKI.COM Apr 10 2013 19:28:00      Harold Jarnicki,    576 Mound Court,    Suite B,
                Lebanon, OH 45036-2090
 15943598      EDI: CITICORP.COM Apr 10 2013 19:28:00      ATT Universal Card,    PO Box 183113,
                Columbus, OH 43218-3113
 15943599      EDI: CHASE.COM Apr 10 2013 19:28:00      Chase Cardmember Service,    PO Box 15153,
                Wilmington, DE 19886-5153
 15943601      EDI: HFC.COM Apr 10 2013 19:28:00      HSBC Retail Services,    PO Box 5238,
                Carol Stream, IL 60197-5238
 15943596      EDI: IRS.COM Apr 10 2013 19:28:00      Internal Revenue Service,    PO Box 7346,
                Philadelphia, PA 19101-7346
 15943605      EDI: RMSC.COM Apr 10 2013 19:28:00      Sam’s Club Discover/GECRB,    PO Box 960013,
                Orlando, FL 32896-0013
                                                                                                TOTAL: 6

               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                               TOTAL: 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Apr 12, 2013                                       Signature:
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District/off: 0648-1          User: admin                 Page 2 of 2                  Date Rcvd: Apr 10, 2013
                              Form ID: b18                Total Noticed: 13


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 9, 2013 at the address(es) listed below:
              Asst US Trustee (Cin)    ustpregion09.ci.ecf@usdoj.gov
              Harold Jarnicki    jarnickihsd91@earthlink.net
              Malinda L Langston    on behalf of Creditor The National Bank & Trust Company mlangston@kplaw.com,
               msloan@kplaw.com;jcohn@kplaw.com
              Stephen C. Crowe   on behalf of Debtor Kristin King crowewelch@fuse.net, susan@croweandwelch.com
                                                                                            TOTAL: 4
